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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION

CHERYL WEIMAR,

      Plaintiff,

vs.                                             CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER, and
RYAN DIONNE,

      Defendants.
                                      /

                          NOTICE OF APPEARANCE

      Eliot B. Peace, Esq. of the law firm of Bradley Arant Boult Cummings LLP,

gives notice of his appearance as counsel for the limited purpose of representing a

non-party, deponent Debra Coats, RN, (“Nurse Coats”) for any and all discovery-

related purposes associated with his matter, and requests that, all future pleadings,

correspondences, notices, and the like pertaining to Nurse Coats, be served upon:

      Eliot B. Peace, Esq.                epeace@bradley.com (Primary)
      Michelle Newman                     mnewman@bradley.com (Secondary)
      Anne Deuter                         adeuter@bradley.com (Secondary)
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                                 Respectfully Submitted,

                                 /s/ Eliot B. Peace
                                 Eliot B. Peace (FBN 124805)
                                 Primary Email: epeace@bradley.com
                                 Secondary Email: mnewman@bradley.com
                                 Secondary Email: adeuter@bradley.com
                                 BRADLEY ARANT BOULT CUMMINGS LLP
                                 100 North Tampa Street, Suite 2200
                                 Tampa, FL 33602
                                 Telephone: (813) 559-5500 | Fax: (813) 229-5946
                                 Counsel for Debra Coats, RN, Non-Party



                         CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will automatically

send email notification to all counsel of record.

                                              /s/ Eliot B. Peace
                                              Counsel for Debra Coats, RN,
                                              Non-Party




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